                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,
                                                                          Case No. 02-CR-75
                -vs-

FIDEL ALFERES, SR.,

                              Defendant.


                       ORDER TO DISMISS REAL PROPERTY


                Based on the plaintiff’s Motion to Dismiss the Real Property, 32138 Lindenberger

Road, Menifee, California, from the Preliminary Order of Forfeiture, it is hereby ORDERED

AND ADJUDGED:

                That the real property located at 32138 Lindenberger Road, Menifee, California,

is dismissed.

                Dated at Milwaukee, Wisconsin, this 5th day of January, 2006.



                                                     SO ORDERED,


                                                     s/ Rudolph T. Randa
                                                     HON. RUDOLPH T. RANDA
                                                     Chief Judge




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